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                                                                                          H1'GENS BERMAN SOBOL SHAPIRO LLP
        ~           HAGENS BERMAN                                                         1918 EIGHTH AVENUE, SUITE 3300
                                                                                          SEAnLE, WA 98101
                                                                                          www. hbsslew.eom
                                                                                          Direct (208) 268-9313
                                                                                          karlb@hbeataw.com




                                                               August 25, 2014
                   Via Facsimile

                   The Honorable Victor Marrero
                   United States District Judge
                   Southern District of New York
                   United States Courthouse
                   500 Pearl Street, Suite 660
                   New York, NY 10007

                            Re:    In re China MediaExpress Holdings, Inc. Litig., No. l l-cv-804 CVM)

                   Dear Judge Marrero:
                            We write on behalf of the Class in this action (the "Judgment Creditor") in response to
                   the letter dated August 22, 2014 (the "Kunstler Letter'') from counsel for Starr Investments
                   Cayman II, Inc. ("Starr"). Starr's argument against appointing Judgment Creditor as receiver
                   fails for three independent reasons: (A) there is no conflict preventing the Judgment Creditor's
                   counsel to act as receiver; (B) Starr itself suffers from an undisclosed disabling conflict of
                   interest; and (C) Starr has no standing to challenge the appointment of the receiver.
                   A.       The Judgment Creditor Has No Conflicts of Interest
                           Quite ironically (given its own conflict as described below), Starr argues that the
                   appointment of the Judgment Creditor's counsel as a receiver in this action "presents numerous
                   potential conflicts of interest." But Starr fails to identify any actual conflict. Although the
                   Kunstler Letter asserts that "numerous" courts have held that appointment of a creditor as
                   receiver creates "an impermissible conflict" that should cause the Court to depart from the
                   authority cited in our previol.lS letter, Starr cites no controlling authority, relying on two district
                   court opinions from other circuits. But even these authorities do not support Starr's proposition.
                            In FleminK v. Bank of Boston Corp., 127 F.R.D. 30, 34 (D. Mass. 1989), the court denied
                   a motion to intervene as being untimely. The court also noted, in dicta, that acting as both class
                   counsel and receiver (where a judgment had not yet been obtained on the class claims against a
                   receivership entity) could lead to the inconsistent objectives of: 1) max.imizing class recovery;
                   and 2) maximizing the value of the receivership. Id. at 37. But even this dicta is not relevant to
                   the facts of this action. In this case, the class action against CCME has concluded, and the
                   liability of CCME is fixed in the amount of the judgment of$535.5 million. There are no
                   decisions left to be made by class counsel that could impact the size of this judgment. The
                   receiver will have one remaining duty: to maximize the value of CCME' s assets, and will have
                   no conflicting objectives in doing so. In contrast, Starr has not yet obtained a money judgment
                   against CCME, and does have the goal of maximizing its recovery against CCME - which is in




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       conflict with maximizing the value of the receivership. l Accordingly, it is Starr and not the
       Judgment Creditor that could have the conflict described by the dicta in Starr's own authority.
                In Scholes v. Tomlinson, 1991WL152062 (N.D. Ill. July 29, 1991), the court specifically
       refused to remove an attorney and his law finn as receiver and receiver's counsel, but did not
       allow the attorney to act as class representative in an ongoing class action claim against the
       receivership entity. The court fotmd that ethical rules prohibited an attorney from acting as both
       class counsel and class representative - which is plainly not the case in this action. 2 Further, the
       Scholes court ruled that a conflict may exist in the Judgment Creditor's counsel acting as
       receiver when there is an additional creditor. See Kunstler Letter at 1. But this unreported
       district court opinion from another circuit is not controlling authority, and should be disregarded
       to the extent that it conflicts with the authorities cited in our opening letter interpreting Section
       5228(a) of the New York CPLR.3 However, should the Court view the allocation of recovered
       proceeds as an actual conflict for the receiver, Judgment Creditor agrees to limit the role of the
       proposed receiver to marshaling the assets of CCME, and will leave the decision on allocation of
       any recovery among the various creditors to the Court. 4
       B.       Starr's Undisclosed and Disabling Conflict of Interest
               As described in our previous letter to the Court, the Judgment Creditor seeks the
       appointment of a receiver to marshal the assets of CCME and investigate potential claims against
       third parties, including claims related to the denial of insurance coverage. The primary layer of
       insurance (a $5 million policy) was widerwrittenjointly by Torus Executive Risks, Ltd. (50%),
       and Lloyd's Syndicate 1919 CVS (50%).s In the Kunstler Letter, Starr fails to disclose to the
       Court that a related entity (Starr Underwriting Agents Limited) is the manager of this Lloyd's
       syndicate, and presumably made the decision to deny coverage.6 Further, Lloyd's Syndicate
       1919 CVS appears to have been capitalized entirely by Starr entities, including C.V. Starr (25%)
       and Starr International Investments Limited (75%). Indeed, Starr Underwriting Agenrs Limited
       executed the insurance policy in dispute on behalf of the insurer.
                As disclosed in the Kunstler Letter, Starr filed a securities fraud action against CCME in
       Delaware, Unsurprisingly, counsel for CCME in that action (as well as this case) sought to draw
       on the insurance policies to fund the defense of CCME, but coverage was denied, presumably by
       Starr Underwriting Agents Limited, as managing agent for the underwriter, Lloyd's Syndicate
       1919 CVS. Tt is easy to see why Starr would rather not fond the defense of an action in which its
       affiliate was the plaintiff, but this alone would not be a sufficient reason to deny coverage in

             I See also Marail v. Ent & Imler CPA Grp .. PC, 2004 WL 2750255, at '"7-8 (S.D. Ind. Nov. 24, 2004)
       (potential conflicts "do not disqualify one of plaintiffs' Jaw firms from representing both the noteholder and the
       receiver" because the potential conflict is "so remote that there is simply no basis for disqualification");
             2 Schole.s, 1991WL152062 at •s ("ethical consideTations counsel against allowing (an attorney] to serve as
       cla.~s retiresentative while his law firm represents both him and the class").
             3 See also Friedmun v. Wahrsager, 848 F. Supp. 2d 278, 291 (E.1).N.Y. 2012) (''N.Y. CPLR § 5228,
       specifically allows for the appointment of the judgment creditor as receiver to the judgment debtor.").
             4 There is no possible conflict at this point because Starr has no money judgment against CCME.

             S "CVS" are the initials of Cornelius Vander Starr, the founder of Starr. The company was founded in 1919.
             6 Judgment Creditor has not attached copies of the relevant insurance policies, but will provide documents
       confirming the factual assertions in this paragraph upon request from the Court.
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              either the Delaware Action or this case. Without other available assets, CCME stopped paying
              its counsel, who promptly withdrew as counsel, leading to the $535.5 million default judgment in
              this action, and the liability judgment (without damages) in the Delaware Action.
                       There may be a strong claim for improper denial of coverage against various Starr
              entities, and possibly also against Starr Investments Cayman II, Inc. for aiding and abetting or
              conspiring with the other Starr entities to bring about the improper denial of insurance coverage.
              The circumstances surrounding the denial of coverage are suspicious, and should be investigated
              by a receiver that is not a hand-picked lackey of Starr. The Court should disregard Starr's self-
              serving attempt to hinder a thorough investigation of potential claims related to the denial of
              insurance coverage by inserting itself into the receivership decision-making process.
              C.       Starr Does Not Have a Damage Judgment
                      Starr declines to disclose in the Kunstler Letter that its judgment is for liability only, and
              that no damages have been awarded. See Kunstler Letter, Ex. 2. Accordingly, Starr does not
              currently have a judgment that could be enforced against assets recovered hy the receiver and,
              thus, no incentive to maximize recovery and no standing to challenge the appointment of a
              receiver. 7
              D.       Conclusion
                       In conclusion, Starr does not contest the necessity of appointing a receiver, but only the
              identity of the receiver. But Starr's objection to the appointment of Judbrment Creditor's counsel
              as the receiver is meritless and should be disregarded. Starr should not be allowed to hand-pick
              the receiver that will investigate potential claims against Starr and its corporate affiliates. The
              Judgment Creditor has no such conflicts of interest, and has demonstrated its understanding of
              the facts of this case and its willingness to vigorously pursue investigation and litigation.
              I'urther, counsel for the Judgment Creditor has agreed to forego any fee for its service as a
              receiver in this action, which will save significant assets for the receivership.


The Clerk of Court is directed to enter into the public recor<t,
of this ction the le e above submitted to the Court by         ,.   Sincerely,




              cc:      All counsel ofrecord (via e-mail)



                   7 If Starr obtains any type of damage award (which ic has not yet), it will be very small in comparison to the
             $535 million judgment obtained by lhe Judgment Creditor. The Court should disregard Starr's attempt to have che
             "tail wag the dog'' by giving its much smaller (if any) damage claim the right to require a "consensus" before
             appointment of a receiver.
